                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

 UNITED STATES OF AMERICA                   )
                                            ) No. 3:24-2388
       v.                                   ) JUDGE HOLMES
                                            )
SKYLER PHILIPPI                             )


       UNOPPOSED MOTION TO WAIVE PRELIMINARY HEARING AND
                      DETENTION HEARING

      The defendant, Skyler Philippi, through undersigned counsel, hereby moves

this Honorable Court for an order waiving the preliminary hearing and waiving and

reserving his right to a detention hearing. Assistant United States Attorney Joshua

Kurtzman has authorized defense counsel to state to this Court that the

government is not opposed to this motion.

      A preliminary and detention hearing is scheduled in this case on Wednesday,

November 13 at 1:30 p.m. Pursuant to Fed. R. Crim. P. 5.1(a)(1), a magistrate judge

must conduct a preliminary hearing unless one of five exceptions at Rule 5.1(a)(1)-

(5) applies. Rule 5.1(a)(1) provides that a hearing is not required if “the defendant

waives the hearing.” Through counsel, Mr. Philippi waives his right to a

preliminary hearing.

      Mr. Philippi also waives his right to a detention hearing, pursuant to 18 USC

§ 3142, and agrees to remain in custody, until further orders of the Court. The

government and Mr. Philippi are negotiating a possible resolution of this case, and

the parties may agree to the filing of an information, under Fed. R. Crim. P. 7(b), in




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this matter. As a result, Mr. Philippi also waives his right to a detention hearing

but reserves his right to file a motion for his release at a later time if circumstances

change.

                                         Respectfully submitted,


                                         s/ R. David Baker
                                         R. DAVID BAKER
                                         Assistant Federal Public Defender
                                         810 Broadway, Suite 200
                                         Nashville, Tennessee 37203
                                         615-736-5047
                                         David_baker@fd.org

                                         Attorney for Skyler Philippi


                                CERTIFICATE OF SERVICE

      I hereby certify that on November 12, 2024, I electronically filed the foregoing
Unopposed Motion to Waive Preliminary Hearing and Detention Hearing with the
U.S. District Court Clerk by using the CM/ECF system, which will send a Notice of
Electronic Filing to the following: Joshua Kurtzman, Assistant United States
Attorney, 719 Church Street, Suite 3300, Nashville, Tennessee, 37203.


                                         s/ R. David Baker
                                         R. DAVID BAKER




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